 Case 1:18-cv-02042-CFC Document 11 Filed 01/18/19 Page 1 of 1 PageID #: 201



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

CLOUD9 TECHNOLOGIES LLC,                        )
                                                )
                      Plaintiff,                )
                                                )
       v.                                       )   C.A. No. 18-2042 (CFC)
                                                )
IPC SYSTEMS, INC. and IPC NETWORK               )
SERVICES, INC.,                                 )
                                                )
                      Defendants.               )

                        STIPULATION AND [PROPOSED] ORDER

       IT IS HEREBY STIPULATED by the parties, subject to the approval of the Court, that

the time for the parties to file a redacted version of Plaintiff’s Complaint is extended from

January 21, 2019 (see D.I. 5) until January 25, 2019.



MORRIS JAMES LLP                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP

/s/ Kenneth L. Dorsney                           /s/ Stephen J. Kraftschik
__________________________________               _________________________________
Kenneth L. Dorsney (#3726)                       Karen Jacobs (#2881)
500 Delaware Avenue, Suite 1500                  Stephen J. Kraftschik (#5623)
Wilmington, DE 19801                             1201 North Market Street
(302) 888-6800                                   P.O. Box 1347
kdorsney@morrisjames.com                         Wilmington, DE 19899-1347
Attorneys for Plaintiff Cloud9                   (302) 658-9200
Technologies LLC                                 kjacobs@mnat.com
                                                 skraftschik@mnat.com
                                                 Attorneys for Defemdamts IPC Systems, Inc.
                                                 and IPC Network Services, Inc.
January 18, 2019


               SO ORDERED THIS _______ day of January, 2019.


                                                           _____________________________
                                                           United States District Judge
